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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Strike 3 Holdings, LLC
                                                    Plaintiff,
v.                                                               Case No.: 1:18−cv−06037
                                                                 Honorable Thomas M.
                                                                 Durkin
JOHN DOE subscriber assigned IP address
73.209.230.238
                                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 28, 2018:


        MINUTE entry before the Honorable Thomas M. Durkin:Plaintiff's motion for
leave to serve third party subpoena prior to Rule 26(f) conference [8] is granted. No
appearance is required on 10/2/2018. Mailed notice(srn, )




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